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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

   IMPLICIT, LLC,                                 §
                                                  §
               Plaintiff,                         §
                                                        Case No. 2:19-cv-00040-JRG-RSP
   v.                                             §
                                                        LEAD CASE
   IMPERVA, INC.,                                 §
                                                  §
               Defendant.                         §
   IMPLICIT, LLC,                                 §
                                                  §
               Plaintiff,                         §
                                                        Case No. 2:19-cv-00039-JRG-RSP
   v.                                             §
                                                        CONSOLIDATED CASE
   FORTINET, INC..,                               §
                                                  §
               Defendant.                         §
   IMPLICIT, LLC,                                 §
                                                  §
               Plaintiff,                         §
                                                        Case No. 2:19-cv-00037-JRG-RSP
   v.                                             §
                                                        CONSOLIDATED CASE
   JUNIPER NETWORKS, INC.,                        §
                                                  §
               Defendant.                         §
   IMPLICIT, LLC,                                 §
                                                  §
               Plaintiff,                         §
                                                        Case No. 2:19-cv-00042-JRG-RSP
   v.                                             §
                                                        CONSOLIDATED CASE
   SOPHOS LTD.,                                   §
                                                  §
               Defendant.                         §

                                              ORDER

         Before the Court is the parties’ Joint Stipulation of Dismissal Pursuant to Rule

  41(a)(1)(A)(ii) at to U.S. Patent Nos. 8,856,779 and 9,325,740 (“Stipulation”). (Dkt. No. 123.)

  This Stipulation seeks to dismiss Plaintiff Implicit, LLC’s (“Implicit”) claims for patent

  infringement of the ’779 and ’740 patents without prejudice. (Id.)

         After consideration, the Court APPROVES of the parties’ Stipulation. It is therefore

  ORDERED that Plaintiff claims for patent infringement of the ’779 and ’740 patents are

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  DISMISSED WITHOUT PREJUDICE. The clerk is directed to leave this case open as Implicit

  still has other active claims against the defendants.
             SIGNED this 3rd day of January, 2012.
          SIGNED this 3rd day of September, 2019.




                                                          ____________________________________
                                                          ROY S. PAYNE
                                                          UNITED STATES MAGISTRATE JUDGE




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